              Case 2:06-cr-00441-DAD Document 479 Filed 10/24/12 Page 1 of 3


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 5

 6   Attorney for Defendant
     RICARDO VENEGAS
 7

 8                             IN THE UNITED STATES DISTRICT COURT

 9                          FOR THE EASTERN DISTRICT OF CALIFORNIA

10

11   UNITED STATES OF AMERICA,                    ) CR NO. S-06-441 GEB
                                                  )
12        Plaintiff,                              )
                                                  ) JOINT REQUEST AND [PROPOSED]
13                                                ) ORDER FOR A FULL PRE-PLEA REPORT
     v.                                           ) REGARDING MR. VENEGAS.
14                                                )
     RICARDO VENEGAS,                             ) Judge: Hon. Garland E. Burrell, Jr.
15                                                )
                                                  )
16
          Defendant.                              )
          The Parties, Jill Thomas Esq., Assistant United States Attorney, and counsel for
17
     defendant Ricardo Venegas, John R. Manning, Esq., jointly request the Court order the United
18

19   States Probation Department to draft a “full” or “complete” pre-plea presentence report. This

20   Court previously authorized United States Probation to prepare a pre-plea report for the sole
21
     purpose of calculating Mr. Venegas’ criminal history. The Parties believe that due to the
22
     complex nature of the facts and circumstances surrounding this matter (including information
23
     raised in the pre-plea criminal history report), a “full” or “complete” pre-plea report will be
24

25   beneficial, if not instrumental, in resolving this matter.

26   Respectfully submitted,
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28   ///



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             Case 2:06-cr-00441-DAD Document 479 Filed 10/24/12 Page 2 of 3


 1   Dated: October 23, 2012             /s/ John Manning
 2
                                         JOHN R. MANNING
                                         Attorney for Defendant
 3                                       Ricardo Venegas
 4

 5
     Dated: October 23, 2012             Benjamin B. Wagner
 6                                       United States Attorney
 7
                                   by:   /s/ Jill Thomas
 8                                       Assistant U.S. Attorney

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 6   Attorney for Defendant
     RICARDO VENEGAS
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 8                                    IN THE UNITED STATES DISTRICT COURT

 9                                   FOR THE EASTERN DISTRICT OF CALIFORNIA

10

11   UNITED STATES OF AMERICA,                            ) CR NO. S-08-441 GEB
                                                          )
12          Plaintiff,                                    )
                                                          ) PROBATION IS REQUESTED TO
13                                                        ) PREPARE A “FULL” PRE-PLEA REPORT
     v.                                                   )
14                                                        )
     RICARDO VENEGAS,                                     )
15                                                        )
                                                          )
16
            Defendant.                                    )

17
            The United States Probation Department is requested to draft a “full” pre-plea report,
18
     provided that this request is consistent with other functions of the Department.
19
            Date: 10/23/2012
20

21
                                                   ___________________________________
22                                                 GARLAND E. BURRELL, JR.
                                                   Senior United States District Judge
23

24          DEAC_Signature-END:




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